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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              NORTHERN DIVISION


D.N.N. and V.R.G., on behalf themselves and
all others similarly situated,


              Petitioners-Plaintiffs,           MEMORANDUM IN SUPPORT OF
                                                MOTION FOR PRELIMINARY
       v.                                       INJUNCTION

                                                Civil Action No.: 1:25-cv-01613
 NIKITA BAKER, in her official capacity as
 Field Office Director of the Immigration and
 Customs Enforcement, Enforcement and
 Removal Operations Baltimore Field Office,
 et al.,




              Respondents-Defendants.
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                                          INTRODUCTION

          Petitioner-Plaintiffs (“Plaintiffs”) bring this action to enjoin punitive and unconstitutional

detention conditions in the “hold rooms” at the Immigration and Customs Enforcement (“ICE”)

Baltimore Field Office (the “Baltimore Hold Rooms”). The Baltimore Hold Rooms are authorized

to detain individuals for short term duration, not to exceed 12 hours. But Defendants have held

Plaintiffs and hundreds of noncitizens in the Baltimore Hold Rooms for days at a time, packing

them into overcrowded and filthy cells; depriving them of adequate sleep, food, water, and medical

care; refusing to provide them with basic hygiene supplies; and arbitrarily cutting them off from

communication with counsel. These degrading conditions pose an immediate risk of illness,

trauma, and death requiring immediate court intervention.

          As detailed in the First Amended Complaint (“FAC”) (ECF No. 6) and supporting

declarations, Defendants’ decision to use the Baltimore Hold Rooms as a residential (i.e. overnight

or multi-day) facility is arbitrary, capricious, and contrary to Plaintiffs’ constitutional rights. The

conditions at the facility violate Defendants’ own written detention policies as well as the

constitutional prohibition on subjecting civilly detained individuals to punitive conditions. Bell v.

Wolfish, 441 U.S. 520, 536-39 (1979); Short v. Hartman, 87 F.4th 593, 606 (4th Cir. 2023).

          Plaintiffs have brought this action on behalf of themselves and members of a proposed

class consisting of all persons who are now or in the future will be detained at the Baltimore Hold

Rooms (the “Class”).1 Plaintiffs are likely to succeed on the merits of their claims and have met

all other requirements for a preliminary injunction. Accordingly, this Court should grant Plaintiffs’

motion and issue an order enjoining Defendants and their agents and employees from: (i) operating

the Baltimore Hold Rooms as a residential facility; and (ii) subjecting Plaintiffs and putative Class


1
    Plaintiffs filed their motion for class certification on June 6, 2025 (ECF No. 31).

                                                    1
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Members to punitive and unconstitutional conditions of confinement in the Baltimore Hold

Rooms.

                                    FACTUAL BACKGROUND

          A.      ICE’s Hold Room Policies

          The Department of Homeland Security (“DHS”) and ICE have adopted written policies

establishing mandatory procedures for Enforcement and Removal (“ERO”) holding facilities like

the Baltimore Hold Rooms. On January 31, 2024, ICE issued Directive 11087.2, “Operations of

ERO Holding Facilities” (the “Policy”) (ECF No. 1-8). The “Purpose/Background” of the Policy

is to provide ICE ERO officers “with policy and procedures for operating holding facilities

located within their respective field offices.” Id. § 1.1. The Policy defines a “holding facility” as

“[a] facility that contains hold rooms that are primarily used for the short-term confinement of

individuals who have recently been detained, or are being transferred to or from a court, detention

facility, or other holding facility, or other agency.” Id. § 3.2. It notes that “short-term is defined

as a period not to exceed 12 hours, absent exceptional circumstances.” Id., § 3.2 n.3 (emphasis

added).

          The Policy provides that “ERO Officers are responsible for” enforcing mandatory

procedures including, inter alia:

   •           “Ensuring that detainees are provided a meal at least every six hours” (id., §
               4.4.1.2); and

   •           “Ensuring that hold rooms are safe, clean, equipped with restroom facilities,
               and clear of objects that could be used as weapons against ERO personnel,
               contractors, or detainees” (id., § 4.4.1.3).

          With respect to “Procedures and Requirements,” the Policy provides the following

“Procedures for ERO Officers”:

   •           “Allow detainees to keep personal inhaled medication on their person and have
               access to other prescribed medication as necessary” (id., § 5.7.2);

                                                   2
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    •         “[E]mpty holding facilities upon the conclusion of daily operations in those
              field office locations operating on a daily schedule . . . absent exceptional
              circumstances, no detainee should be housed in a holding facility for longer
              than 12 hours” (id., § 5.1.1); and

    •         “Provide detainees with access to drinking water in hold rooms at all times”
              (id., § 5.2.2”).

         B.      Defendants’ Decision to Waive the Policy and Operate the Hold Rooms as a
                 Residential Facility

         After taking office, the Trump administration immediately issued new quotas requiring

ICE to make between 1,200 and 1,500 arrests per day.2 According to Defendants’ press releases,

ICE made 32,809 “enforcement arrests” in the first 50 days of the Trump Administration

(compared to 33,242 arrests in the entire fiscal year 2024), with that number rising to 66,463 arrests

in the first 100 days.3 In a March 4, 2025 interview, Matthew Elliston (the Baltimore Field Office

Director at that time) explained that ICE’s arrest numbers were “up about 600 percent”

nationwide.4 And on May 29, 2025, White House Deputy Chief of Staff Stephen Miller announced

that Defendants are “looking to set a goal of a minimum of 3,000 arrests for ICE every day.”5




2
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(Jan. 27, 2025), https://www.foxnews.com/politics/trump-officials-give-ice-goal-number-arrests-
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    Dep’t of Homeland Security, ICE Arrests in First 50 Days, (Mar. 13, 2025),
https://www.dhs.gov/news/2025/03/13/ice-arrests-first-50-days-trump-administration (ECF No.
1-3); US Immigration and Customs Enforcement, 100 days of record-breaking immigration
enforcement (Apr. 29, 2025), https://www.ice.gov/news/releases/100-days-record-breaking-
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       ICE’s detention infrastructure was not designed to handle this sudden and extreme increase

in the number of arrested individuals. As a result, it has been widely reported that ICE is already

above its nationwide detention capacity.6 In a publicly reported March 12, 2025 interview, Field

Officer Elliston acknowledged that ICE “do[esn’t] want anyone here more than 12 hours”

(apparently in reference to the Baltimore Hold Rooms), but the number of newly detained people

has required people “to be here for a couple of days” before they can be transferred elsewhere in

the country.7

       At the beginning of March 2025, Field Office Director Elliston discussed the Baltimore

Hold Rooms with attorney Rachel Ullman, the Chair of the Baltimore ICE/ERO/OPLA liaison

committee for the DC Chapter of the American Immigration Lawyers Association. In a March 7,

2025 email8 to the AILA DC Chapter Listserv, Ms. Ullman reported:

       I have spoken with our Baltimore ICE ERO Field Office Director, Matthew
       Elliston, and he has confirmed the following information pertaining to the use of
       their Baltimore holding facility.

       When detention facilities in Pennsylvania and Virginia are full, BAL ICE has
       needed to hold some people for longer than 12 hours in order to find available bed
       space outside of Maryland.

       BAL ICE has obtained a waiver of the 12 hour time limit for hold rooms.

       Those who are in the BAL ICE holding facility are provided with blankets, food,
       and necessary medical care. FOD Elliston has ordered cots, but they have not yet
       arrived.



6
 See, e.g. Meg Anderson, Private prisons and local jails are ramping up as ICE detention exceeds
capacity, Nat’l. Public Radio (June 4, 2025), https://www.npr.org/2025/06/04/nx-s1-
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  See Tracee Wilkins, et al., ‘Like living in a dark room’: Inside overcrowded ICE detention centers
NBC Washington (March 12, 2025), https://www.nbcwashington.com/investigations/like-living-
in-a-dark-room-inside-overcrowded-ice-detention-centers/3865502/ (ECF No. 1-11).
8
 See Email from Rachel Ullman to AILA DC Chapter Listserv (March 7, 2025, 4:41 PM), Exhibit
1 to the Declaration of Amelia Dagen dated June 12, 2025 (“Dagen Decl.”) (emphasis added).

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       At that time, Defendants had already begun operating the Baltimore Hold Rooms as a

residential facility despite the absence of basic resources necessary to care for individuals in their

custody. In April 2025, U.S. Senators Chris Van Hollen and Angela Alsobrooks visited the

facility and notified Defendants publicly of the “unacceptable harms inflicted on those being

detained” in the Baltimore Hold Rooms. In contrast to Field Officer’s Elliston representations

about food, cots, and medical care, the Senators confirmed reports “that detainees have been held

for durations longer than allowed by ICE standards in a facility that is unequipped to meet their

basic needs, including reports of overcrowding in holding cells with no bed space, lack of

adequate food service, and the absence of medical staff on-site.”9

       Since February 2025, Defendants have routinely detained putative Class Members in the

facility for multiple days at a time, with many individuals detained for as many as six or seven

days in unhealthy, unsanitary, and punitive conditions. See, e.g., Parra Decl. ¶ 5 (6 days) (ECF

No. 31-5); Cruz Decl. ¶ 6 (5 days) (ECF No. 31-6); Girod Decl. ¶ 10 (7 days) (ECF No. 31-7);

B.R.R. Decl. ¶ 5 (6 days) (ECF No. 31-8); Vasquez Decl. ¶ 8 (6-7 days) (ECF No. 31-9).

       Defendants routinely pack as many as 30 detained noncitizens into rooms that are

intended to hold only a handful of individuals at a time. See, e.g., Declaration of Katharine

Gordon, dated June 12, 2025 (“Gordon Decl.”), ¶ 14 (held in “”extremely crowded” room with

“over 30 men”); Nieves Decl. ¶ 7 (ECF No. 31-10) (“I was held in a 12ft/12ft room with about

twenty other men.”); Parra Decl. ¶ 6 (ECF No. 31-5) (held in “roughly 12 x 18 ft.” room with

“about 20 other men”); Girod Decl. ¶ 5 (ECF No. 31-7) (held with “between fifteen and twenty-



9
  Van Hollen, Alsobrooks Press Trump Administration on Inhumane Conditions for Detainees at
ICE’s Baltimore Field Office (Apr. 10, 2025), https://www.vanhollen.senate.gov/news/press-
releases/van-hollen-alsobrooks-press-trump-administration-on-inhumane-conditions-for-
detainees-at-ices-baltimore-field-office.

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five people at any given time”); B.R.R. Decl. ¶ 6 (ECF No. 31-8) (“twenty other people”); O.P.L.

Decl. ¶ 6 (ECF No. 31-11) (“fourteen other people”); Jenkins Decl. ¶ 9 (ECF No. 31-12) (12

other men); Davey Decl. ¶ 17 (ECF No. 31-13) (12 men); Cruz Decl. ¶ 7 (ECF No. 31-6) (13

women).

       These crowded rooms contain a single open toilet with no privacy, requiring detained

individuals to expose themselves to one another repeatedly while using the bathroom. See, e.g.,

Jenkins Decl. ¶ 10 (ECF No. 31-12) (“The restroom was inside the holding cell and was

disgusting. There was no privacy.”); Parra Decl. ¶ 6 (ECF No. 31-5) (“If we had to use the

bathroom, everyone was able to see.”); Girod Decl. ¶ 7 (ECF No. 31-7) (“Due to the crowding,

there was no privacy when [he]needed to use the bathroom.”); Hyde Decl. ¶ 7 (ECF No. 6-2)

(“[I]t is impossible for Ms. R.G. or the other detained women to use the toilet with any privacy.”).

       While living in a cramped room with an open toilet, detained individuals are denied access

to showers as well as basic hygiene items, including clean clothes, toothbrushes, and in some

instances even soap. See, e.g., Cruz Decl. ¶ 9 (ECF No. 31-6) (“We remained in the clothes we

were wearing when detained for the next five days. There was no toothbrush, no deodorant, and

no other hygiene products, except soap, which was useless without a shower”); O.P.L Decl. ¶ 7

(ECF No. 31-11) (“We were not given anything to bathe, to shower, or to brush our teeth. We

were not given a change of clothes.”); Amaya-Luis Decl. ¶ 10 (ECF No. 31-14) (“[F]or more

than seven days . . . I was not able to change my clothes or have access to any clean clothing.

There was no way to clean yourself, because there were no showers, washcloths, or towels.”);

Vasquez Decl. ¶ 8 (ECF No. 31-9) (“There was no access to showers.”); Girod Decl. ¶ 7 (ECF

No. 31-7) (“It was also very dirty, because there were no showers and no one was given a change

of clothes. No one was given soap or access to toothbrushes/toothpaste.”); Hyde Decl. ¶ 8 (ECF



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No. 6-2) (“Ms. R.G. has not been allowed to shower or change clothes. Sometimes ICE provides

Ms. R.G. and the other detained women a couple of baby wipes.”).

       Defendants have denied putative Class Members access to medical care as well as

prescribed medications for serious medical conditions ranging from diabetes to HIV. See

Justiniano Decl. ¶¶ 3-5 (ECF No 1-15) (despite having family member bring diabetes medication

to facility, Plaintiff was denied access to medication for over 24 hours and was advised that

Defendants “did not have the capacity to [dispense medication] at this facility because it was

meant to be temporary, and she would receive this care wherever she was transferred”); Jenkins

Decl. ¶¶ 12-13 (ECF No. 31-12) (denied HIV medication for several days and told there was “no

nurse in the facility” to provide it); Hyde Decl. ¶ 4 (ECF No. 6-2) (denied thyroid medication and

medical treatment for days); B.R.R. Decl. ¶ 6 (ECF No. 31-8) (“For these three days, I asked to

see a doctor, they said that there was no doctor, and they wouldn’t be able to help me.”); O.P.L.

Decl. ¶ 9 (ECF No. 31-11) (“I saw him ask for insulin and the officials did not give him any . . .

he was on the floor and was having difficulty breathing . . . they had to take him to the hospital.”).

       Defendants are not providing individuals detained in the Baltimore Hold Rooms with

consistent access to drinking water. Instead of regular access to drinking water mandated by their

own policies, Defendants provide detained people with one to three small water bottles per day.

Justiniano Decl. ¶ 3 (ECF No 1-15) (8 oz bottle of water provided with meals); Girod Decl. ¶ 8

(ECF No. 31-7) (“Each person received one water bottle three times a day”); Ponce Decl. ¶ 7

(ECF No. 31-15) (water provided at meal times); Vasquez Decl. ¶ 5 (ECF No. 31-9) (“small

water bottle” provided twice a day); Hyde Decl. ¶ 6 (ECF No. 6-2) (“Ms. R.G. is not being given

water outside of a small bottle at mealtimes”).

       Defendants are not providing individuals detained in the Baltimore Hold Rooms with



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adequate meals as required under the Policy. Instead, Defendants provide irregular “meals”

consisting of a piece of bread, a peanut butter and jelly sandwich, a pouch of beans, or a cup of

instant noodles. Nieves Decl. ¶ 8 (ECF No. 31-10) (one small bowl of soup and one piece of

bread in a 24 hour period); Justiniano Decl. ¶ 3 (ECF No 1-15) (one cup of noodle soup, one ham

sandwich, and one portion chicken noodle soup in 24 hour period); Girod Decl. ¶ 8 (ECF No. 31-

7) (“Sometimes B.L.C. was given a cup of instant noodles, sometimes a protein bar, and

sometimes bread or a cheese sandwich.”); Davey Decl. ¶ 17 (ECF No. 31-13) (“dinner was just

a bag of pre-cooked beans”); Amaya-Luis Decl. ¶ 11 (ECF No. 31-14) (“The ICE officers only

gave me peanut butter and jelly sandwiches for the first two days . . . After that, for the next five

days, they gave me much less food, sometimes no food at all.”); B.R.R. Decl. ¶ 6 (ECF No. 31-

8) (“[T]he horrible food that they gave us put me in pain for three days.”).

       Defendants are not providing individuals detained in the Baltimore Hold Rooms with

adequate conditions for sleep. The lights remain on 24 hours a day and, because the Baltimore

Hold Rooms are designed to hold only a few people for short periods of time, individuals are

forced to sleep on the bare concrete floors or on thin inflatable air mattresses without adequate

blankets or any pillows. Jenkins Decl. ¶ 10 (ECF No. 31-12) (describing 13 men “sleeping on the

ground with no pillows or blankets”); Parra Decl. ¶ 6 (ECF No. 31-5) (“I had no blanket and had

to sleep on the floor.”); Girod Decl. ¶ 5 (ECF No. 31-7) (“[E]veryone had to sleep on the floor.”);

Amaya-Luis Decl. ¶ 9 (ECF No. 31-14) (“the floors were also cold, and I was not given a blanket

to help me stay warm.”); Ponce Decl. ¶ 7 (ECF No. 31-15) (“The lights were left on 24 hours a

day”); Nieves Decl. ¶ 7 (ECF No. 31-10) (“There was never a time that the lights were off”);

Hyde Decl. ¶ 9 (ECF No. 6-2) (“ICE does not provide pillows or sheets, only aluminum

blankets”).



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        In some instances, crowding is so bad that detained individuals are forced to sleep sitting

up or are unable to move around in the cell. See Parra Decl. ¶ 6 (ECF No. 31-5) (when sleeping,

“I had to sit on the floor because there was no room to extend my body.”); Girod Decl. ¶ 5 (ECF

No. 31-7) (“Sometimes, there wasn’t enough room for everyone to even lay down on the floor,

so people had to sleep sitting up.”); O.P.L Decl. ¶ 6 (ECF No. 31-11) (“When we had the

mattresses on the floor . . . there was nowhere to move.”).

                                        LEGAL STANDARD

        This Court has authority under Rule 65 of the Federal Rules of Civil Procedure to issue a

preliminary injunction “to maintain the status quo and prevent irreparable harm while a lawsuit

remains pending.” League of Women Voters of N. Carolina v. North Carolina, 769 F.3d 224, 236

(4th Cir. 2014) (citation omitted). “To be sure, it is sometimes necessary to require a party who

has recently disturbed the status quo to reverse its actions, but ... [s]uch an injunction restores,

rather than disturbs, the status quo ante.” Id. (quoting Aggarao v. MOL Ship Mgmt. Co., 675 F.3d

355, 378 (4th Cir. 2012)).

        A party seeking a preliminary injunction must establish four factors: “(1) they are likely to

succeed on the merits; (2) they are likely to suffer irreparable harm in the absence of preliminary

relief; (3) the balance of equities tips in their favor; and (4) an injunction is in the public interest.”

ClearOne Advantage, LLC v. Kersen, 710 F. Supp. 3d 425, 431 (D. Md. 2024) (citing Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). “When a government entity is a party to the

case, the third and fourth factors merge.” PFLAG, Inc., No. 25-337, 2025 WL 510050, at *5 (D.

Md. Feb. 14, 2025) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)).

        “Because preliminary injunction proceedings are informal ones designed to prevent

irreparable harm before a later trial governed by the full rigor of usual evidentiary standards,

district courts may look to, and indeed in appropriate circumstances rely on, hearsay or other

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inadmissible evidence when deciding whether a preliminary injunction is warranted.” G.G. ex rel.

Grimm v. Gloucster Cnty. School Bd., 822 F.3d 709, 725-26 (4th Cir. 2016), vacated and remanded

on other grounds, 580 U.S. 1168 (2017).

                                          ARGUMENT

I.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS

       While discovery has yet to begin, Plaintiffs have already marshalled sufficient evidence to

establish a likelihood of success on numerous claims seeking to enjoin Defendants’ unlawful

practices in the Baltimore Hold Rooms. First, Plaintiffs have established that the punitive

conditions of confinement in the Baltimore Hold Rooms violate their Fifth Amendment rights to

hygienic and sanitary conditions (Count IV) and adequate medical care (Count V). Second,

Plaintiffs have established that Defendants’ decision to waive the Policy and operate the Baltimore

Hold Rooms as a residential facility was contrary to the Constitution and arbitrary and capricious

in violation of the Administrative Procedure Act, 5 U.S.C. 5 U.S.C. § 706(2)(A) (the “APA”)

(Count I). Finally, Plaintiffs have established that Defendants’ decision to suspend and deviate

from their own written procedures violates the Due Process Clause and APA under the Accardi

doctrine (Count II).

       A.      Plaintiffs are Likely to Succeed on their Fifth Amendment Punitive Conditions
               Claims (Counts IV-V).

       Plaintiffs have established a likelihood of success on the merits for Counts IV and V, which

assert that Defendants have violated the Due Process Clause of the Fifth Amendment10 by




10
  Because immigration detention is civil in nature, challenges to conditions of confinement in
immigration facilities arise under the Fifth Amendment and are subject to the same constitutional
analysis as pre-trial detention. Zadvydas v. Davis, 533 U.S. 678, 690 (2001); see also Coreas v.
Bounds, 451 F. Supp. 3d 407, 420 (D. Md. 2020).

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subjecting civilly detained individuals to punitive conditions, including through the denial of (i)

sanitary, hygienic, and safe conditions and (ii) medical care.

          “Civil detainees ‘are entitled to more considerate treatment and conditions of confinement

than criminals whose conditions of confinement are designed to punish.’” Heyer v. United States

Bureau of Prisons, 849 F.3d 202, 209 n.5 (4th Cir. 2017) (quoting Youngberg v. Romeo, 457 U.S.

307, 322 (1982)). “While a convicted prisoner is entitled to protection only against ‘cruel and

unusual’ punishment, a [civil] detainee . . . may not be subjected to punishment of any description.

Hill v. Nicodemus, 979 F.2d 987, 991 (4th Cir. 1992); see also Williamson v. Stirling, 912 F.3d

154, 173 (4th Cir. 2018) (“Put most simply, it is settled that [civil] detainees possess a

constitutional right ‘to be free from punishment.’”) (quoting Bell v. Wolfish, 441 U.S. 520, 535)

(1979).

          When a civilly detained individual challenges conditions of confinement, “the controlling

inquiry for such a claim is whether the conditions imposed . . . constitute punishment.” Williamson,

912 F.3d at 174 (4th Cir. 2018) (quotation omitted). In the Fourth Circuit, there is no requirement

of subjective intent; a civilly detained individual prevails “on the purely objective basis that the

‘governmental action’ they challenge is not ‘rationally related to a legitimate nonpunitive

governmental purpose’ or is ‘excessive in relation to that purpose.’” Short v. Hartman, 87 F.4th

593, 611 (4th Cir. 2023), cert. denied, 144 S. Ct. 2631 (2024).

                 1.     Defendants Deprive Putative Class Members of Hygienic, Sanitary,
                        and Safe Conditions in Violation of the Fifth Amendment (Count IV).

          Defendants have violated their constitutional obligation to provide for Plaintiffs’ and

putative Class Members’ health, safety, and well-being while in their custody in the Baltimore

Hold Rooms. See DeShaney v. Winnebago Cnty. Dep’t. of Soc. Servs, 489 U.S. 189,199-200

(1989). “It is a ‘settled rule that housing inmates in a grossly overcrowded and unsanitary facility


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violates the inmates’ rights to be free from cruel and unusual punishments.’” Karn v. PTS of Am.,

LLC, 590 F. Supp. 3d 780, 812 (D. Md. 2022) (citation omitted).

       Defendants disregard their constitutional obligation by overcrowding the Baltimore Hold

Rooms. Defendants routinely pack as many as 30 or more detained noncitizens into rooms that are

intended to hold only a handful of individuals at a time. See, e.g., Nieves Decl. ¶ 7 (ECF No. 31-

10) (“I was held in a 12ft/12ft room [144 square feet] with about twenty other men” [7.2 square

feet per person]); Parra Decl. ¶ 6 (ECF No. 31-5) (held in “roughly 12 x 18 ft.” [216 square feet]

room with “about 20 other men” [10.8 square feet per person]); Girod Decl. ¶ 5 (ECF No. 31-7)

(held with “between fifteen and twenty-five people at any given time”); Gordon Decl., ¶ 14 (held

in “”extremely crowded” room with “over 30 men”).11

       Even in a criminal detention facility, where cells provide “inmates with as little as eighteen

square feet of living space . . . We have no trouble concluding that such crowded conditions

constitute cruel and unusual punishment for those convicted inmates who are kept in their cramped

cells for all but a few hours each week.” Campbell v. Cauthron, 623 F.2d 503, 506 (8th Cir. 1980).

And, in the context of a pre-trial detention facility, detaining individuals in rooms providing less

than 23 square feet per prisoner “do[es] not provide minimum decent housing under

any circumstances for any period of time.” Lareau v. Manson, 651 F.2d 96, 107-08 (2d Cir. 1981);

see also Zolnowski v. Cnty. of Erie, 944 F. Supp. 1096, 1113 (W.D.N.Y. 1996) (holding pretrial

detainees in spaces affording about 26 square feet per prisoner violates due process).




11
  See also B.R.R. Decl. ¶ 6 (ECF No. 31-8) (“held in a room with about twenty other people”);
O.P.L. Decl. (ECF No. 31-11) ¶ 6 (held with “fourteen other people”); Jenkins Decl. ¶ 9 (ECF No.
31-12) (held with 12 other men); Davey Decl. ¶ 17 (ECF No. 31-13) (held with 12 men); Cruz
Decl. ¶ 7 (ECF No. 31-6) (held with 13 women).

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       The square footage alone is not dispositive, and “the court must look to a number of factors,

including the size of the detainee's living space, the length of the confinement, the amount of time

spent in the confined area each day, and the opportunity for exercise.” Ferguson v. Cape Girardeau

Cnty., 88 F.3d 647, 650 (8th Cir. 1996); Hubbard v. Taylor, 538 F.3d 229, 233 (3d Cir. 2008)

(same). For example, in Bell, the Supreme Court found that it was constitutionally permissible to

hold two “pretrial detainees” in a seventy five square foot cell (37.5 square feet per person) because

“[d]etainees are required to spend only seven or eight hours each day in their rooms, during most

or all of which they presumably are sleeping . . . During the remainder of the time, the detainees

are free to move between their rooms and the common area.” Bell, 441 U.S. at 543.

       Here, in contrast to Bell, individuals are kept in far more crowded quarters and remain

locked in their cell for the entire duration of their stay without any opportunity for exercise or

recreation. Girod Decl. ¶ 7 (ECF No. 31-7) (held for five days, during which time “[n]o one was

allowed to go outside the room”); Amaya-Luis Decl. ¶ 7 (ECF No. 31-14) (held for seven days,

during which “[t]he ICE officers never let me out of the rooms, I never saw daylight, and I did not

taste any fresh air”); Ponce Decl. ¶ 7 (ECF No. 31-15) ( “I was not allowed to leave the cell during

the entire [three days] I was there.”).

       Adding to these indignities, the Baltimore Hold Rooms contain only a single open toilet

with no privacy, requiring up to 30 detained individuals to expose themselves to one another

repeatedly while using the bathroom. See, e.g., Jenkins Decl. ¶ 10 (ECF No. 31-12) (“The restroom

was inside the holding cell and was disgusting. There was no privacy.”); Parra Decl. ¶ 6 (ECF No.

31-5) (“If we had to use the bathroom, everyone was able to see.”); Hyde Decl. ¶ 7 (ECF No. 6-2)

(“[I]t is impossible for Ms. R.G. or the other detained women to use the toilet with any privacy.”);

Girod Decl. ¶ 7 (ECF No. 31-7) (describing bathroom as “very dirty”); see also Zolnowski, 944 F.



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Supp. at 1113 (finding punitive conditions where Defendants “often house[] ten to twenty

prisoners with only one toilet.”)

       Further compounding the overcrowding and dirty conditions, Defendants refuse to allow

detained individuals to wash or clean themselves or to change clothing. See, e.g., Cruz Decl. ¶ 9

(ECF No. 31-6) (“We remained in the clothes we were wearing when detained for the next five

days. There was no toothbrush, no deodorant, and no other hygiene products, except soap, which

was useless without a shower”); O.P.L Decl. ¶ 7 (ECF No. 31-11) (“We were not given anything

to bathe, to shower, or to brush our teeth. We were not given a change of clothes.”); Amaya-Luis

Decl. ¶ 10 (ECF No. 31-14) (“[F]or more than seven days . . . I was not able to change my clothes

or have access to any clean clothing. There was no way to clean yourself, because there were no

showers, washcloths, or towels.”).12

       Courts in this Circuit have also found constitutional violations where, as here, defendants’

conduct leads to overcrowding and unsanitary conditions. See, e.g., Williams v. Griffin, 952 F.2d

820 (4th Cir. 1991) (allegations that, inter alia, plaintiff’s cell toilet was shared by twelve inmates

and constantly unclean deemed sufficient to sustain claim); Karn v. PTS of Am., LLC, 590 F. Supp.

3d 780, 811 (D. Md. 2022) (granting summary judgment to plaintiff who was forced to ride in van

that smelled of “defecation, urine, vomit, old food”); see also Clark v. Daddysman, No. 16-cv-

0921, 2018 WL 1453333, at *10 (D. Md. Mar. 22, 2018) (confining individuals “in a cell

containing human waste” is dangerous to the individual’s health).




12
  Vasquez Decl. ¶ 8 (ECF No. 31-9) (“There was no access to showers.”); Girod Decl. ¶ 7 (ECF
No. 31-7) (“It was also very dirty, because there were no showers and no one was given a change
of clothes. No one was given soap or access to toothbrushes/toothpaste.”); Hyde Decl. ¶ 8 (ECF
No. 6-2) (“Ms. R.G. has not been allowed to shower or change clothes. Sometimes ICE provides
Ms. R.G. and the other detained women a couple of baby wipes.”).

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       The conditions at the Baltimore Hold Rooms are radically below the minimum

requirements for criminal detention facilities under the Federal Performance Based Detention

Standards. These require that contracting facilities provide “a minimum of 35 square feet of space

per detainee,” “one [toilet] for every 12 detainees in male facilities and one for every eight

detainees for female facilities,” and “one shower for every 12 detainees.”13

       In the Ninth Circuit, “when a [civil] detainee is confined in conditions identical to, similar

to, or more restrictive than, those in which his criminal counterparts are held, we presume that the

detainee is being subjected to ‘punishment.’” Jones v. Blanas, 393 F.3d 918, 932 (9th Cir. 2004);

see also Americans for Immigrant Just, No. 22-cv-3118, 2023 WL 1438376, at *12 (Feb. 1, 2023)

(recognizing presumption where “conditions of confinement applicable to civil . . . detainees are

equal to or worse than conditions experienced by [criminal] inmates); Nin-Carrasquillo v. Montes

Gonzalez, No. 06-cv-1408, 2006 WL 8450973, at *7 (D.P.R. Dec. 20, 2006) (same).

       While the Fourth Circuit has declined to apply this presumption (see Matherly v. Andrews,

859 F.3d 264, 275 (4th Cir. 2017)), the fact that these conditions are radically below the minimum

standard required for convicted criminals in federal facilities strongly supports Plaintiffs’ claim.

Defendants can provide no legitimate nonpunitive objective that would justify inflicting the

indignities of these conditions on civilly detained individuals at the Baltimore Hold Rooms.

Moreover, any non-punitive purpose could be accomplished through alternative methods14

consistent with the constitutional rights of Plaintiffs and putative Class Members.



13
   U.S. Dep’t of Justice, Federal Performance Based Detention Standards (May 1, 2025),
www.usmarshals.gov/sites/default/files/media/document/federal-performance-based-detention-
standards-12.pdf, at 79, 94.
14
    See, e.g., U.S. Immigration & Customs Enforcement, Alternatives to Detention
(https://www.ice.gov/features/atd) (describing “ICE’s Alternatives to Detention (ATD) program”
which “enables aliens to remain in their communities — contributing to their families and

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               2.     Defendants Deprive Putative Class Members of Adequate Medical
                      Care in Violation of the Fifth Amendment (Count V).

       Defendants have violated their constitutional obligation to provide medical care for

Plaintiffs’ and putative Class Members’ while in their custody in the Baltimore Hold Rooms. The

Supreme Court long ago recognized the “government’s obligation to provide medical care” for

detained individuals, noting that “denial of medical care may result in pain and suffering which no

one suggests would serve any penological purpose.” Estelle v. Gamble, 429 U.S. 97, 103–04

(1976). Accordingly, a civilly detained individual “‘makes out a due process violation if he shows

‘deliberate indifference to serious medical needs’ . . . because no legitimate nonpunitive goal is

served by a denial or unreasonable delay in providing medical treatment where the need for such

treatment is apparent.” Reese v. Bounds, No. 20-cv-3080, 2021 WL 849108, at *7 (D. Md. Mar. 5,

2021) (quoting Martin v. Gentile, 849 F.2d 863, 871 (4th Cir. 1988)).

       In Short v. Hartman, the Fourth Circuit adopted an “objective test” for claims by civilly

detained individuals, dispensing with a prior requirement that a plaintiff establish a defendant’s

subjective knowledge of a serious risk of harm. 87 F.4th 593, 611 (4th Cir. 2023). As a result, a

plaintiffs must show that:

       (1) they had a medical condition or injury that posed a substantial risk of serious
       harm; (2) the defendant intentionally, knowingly, or recklessly acted or failed to act
       to appropriately address the risk that the condition posed; (3) the defendant knew
       or should have known (a) that the detainee had that condition and (b) that the
       defendant's action or inaction posed an unjustifiably high risk of harm; and (4) as a
       result, the detainee was harmed.

Id.

       There can be no serious dispute that Defendants have recklessly (and even knowingly)

subjected putative Class Members to significant risk of harm by detaining them for days at a time


community organizations” and for which the daily cost is “less than $4.20 per day — a stark
contrast from the cost of detention, which is around $152 per day.”).

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without even basic access to medical care. Following their inspection of the Baltimore Hold

Rooms, Senators Van Hollen and Alsobrooks wrote to Defendants to express their shock that

“[t]here is no infirmary or medical staff on-site, and even when a field medical coordinator is

contacted, they are not able to speak to the detainees directly about their medical needs.”15

       Consistent with those findings, and despite receiving formal notice as part of the legislative

oversight process, Defendants have denied putative Class Members access to medical care. One

notable example of this is Defendants’ failure to provide for the proper administration of

prescription drugs, which are confiscated from detained individuals upon detention. Defendants’

practice of withholding prescription medications alone creates an objectively “substantial risk of

. . . serious harm” or even death. Shakka v. Smith, 71 F.3d 162, 166 (4th Cir. 1995).

       For example, the American Diabetes Association notes that “[i]f a person who needs

insulin is not able to take that medication for a period ranging from several hours to several days,

he or she can experience diabetic ketoacidosis (DKA),” which, “if left untreated, will eventually

result in death.”16 Indeed, even missing a single necessary dose of insulin can result in death. See,

e.g., Egebergh v. Nicholson, 272 F.3d 925 (7th Cir. 2001) (deliberate indifference by police

officers for ignoring morning shot of inmate, leading to ketoacidosis and death).

       Yet even when Defendants have been advised that detained individuals require insulin,

they have refused to provide access. See O.P.L. Decl. ¶ 9 (ECF No. 31-11) (“I saw him ask for

insulin and the officials did not give him any . . . he was on the floor and was having difficulty



15
   See Van Hollen Press release, https://www.vanhollen.senate.gov/news/press-releases/van-
hollen-alsobrooks-press-trump-administration-on-inhumane-conditions-for-detainees-at-ices-
baltimore-field-office.
16
  Benjamin Eisenberg & Victoria Thomas, Am. Diabetes Assoc., Legal Rights of Prisoners and
Detainees with Diabetes, https://diabetes.org/sites/default/files/2023-10/legal-rights-of-prisoners-
detainees-with-diabetes-intro-guide.pdf.

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breathing . . . they had to take him to the hospital.”); Compl., Ex. 9 (ECF No. 1-10) (for two days

detained individual “was not given his insulin or other medication” and, upon transfer from the

Baltimore Hold Rooms had to be “placed under medical observation for 23 hours due to

“uncontrolled diabetes”); see also Justiniano Decl. ¶¶ 3-5 (ECF No 1-15) (despite having family

member bring diabetes medication to facility, Plaintiff was denied access to medication for over

24 hours because Defendants stated “they did not have the capacity to [dispense medication] at

this facility”); Jenkins Decl. ¶¶ 12-13 (ECF No. 31-12) (individual experiencing shortness of

breath requested HIV medication “multiple times” but was denied access for several days and told

there was simply “no nurse in the facility” to provide medication). While there is no longer a

subjective requirement for medical care claims, Defendants are subjectively aware of the serious

dangers to putative Class Members caused by lack of access to medical care, and yet fail to take

any action to prevent such dangers. Plaintiffs are thus likely to succeed on Count V of their

Complaint.

       B.      Plaintiffs Are Likely to Succeed on Their Claims that Defendants Violated the
               APA (Count I).

       In March 2025, Defendants disclosed that they had made an affirmative decision to waive

the Policy’s 12-hour limitation and employ the Baltimore Hold Rooms as a residential facility. As

noted by Senators Van Hollan and Alsobrooks, Defendants decided to detain hundreds of

individuals “in a facility that is unequipped to meet their basic needs.”17 As detailed below,

Plaintiffs are likely to succeed on their claim challenging this decision under the APA because it




17
    Van Hollen, Alsobrooks Press Release, https://www.vanhollen.senate.gov/news/press-
releases/van-hollen-alsobrooks-press-trump-administration-on-inhumane-conditions-for-
detainees-at-ices-baltimore-field-office.

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is “contrary to constitutional right” and “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A)-(B).

                1.     Defendants Decision to Waive Application of the Policy to the
                       Baltimore Hold Rooms Is a Final Agency Action.

        Defendants’ decision to waive the Policy’s 12-hour limitation and employ the Baltimore

Hold Rooms as a residential facility is a “final agency action” under the APA. “[T]he word ‘action[

]’ . . . is meant to cover comprehensively every manner in which an agency may exercise its

power.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 478 (2001); see also FTC v. Standard Oil

Co., 449 U.S. 232, 238 n.7 (1980) (“According to the legislative history of the APA: The term

agency action . . . assure[s] the complete coverage of every form of agency power, proceeding,

action, or inaction.”) (internal citation and quotation omitted). Action is “final” when it (i) “mark[s]

the ‘consummation’ of the agency’s decisionmaking process” and (ii) is “one by which ‘rights or

obligations have been determined,’ or from which ‘legal consequences will flow.’” Bennett v.

Spear, 520 U.S. 154, 177–78 (1997) (citation omitted).

        In this case, Defendants made a discrete decision to waive the Policy’s 12-hour limitation

and employ the Baltimore Hold Rooms as a residential facility. At the beginning of March 2025,

Field Office Director Elliston advised the Baltimore ICE/ERO/OPLA liaison committee for the

DC Chapter of the American Immigration Lawyers Association that “BAL ICE has obtained a

waiver of the 12 hour time limit for hold rooms.”18 In other cases involving these same Defendants,

Courts have repeatedly found that a decision to suspend enforcement of an agency policy

constitutes final agency action. See, e.g., Tendo v. United States, No. 2:23-cv-438, 2024 WL

3650462, at *13 (D. Vt. Aug. 5, 2024) (finding final agency action where “ICE and DHS made a



18
     See Dagen Decl. Ex.1.

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concerted decision not to adhere to its use-of-force guidelines”); see also Torres v. United States

Dep’t of Homeland Sec., 411 F. Supp. 3d 1036, 1069 (C.D. Cal. 2019) (finding final agency action

where ICE made a “decision not to enforce “ detention standards at specific facilities); Aracely, R.

v. Nielsen, 319 F. Supp. 3d 110, 120 (D.D.C. 2018) (final agency action where defendants chose

not “to abide by a binding, official agency directive governing parole determinations”); S. Poverty

L. Ctr. v. U.S. Dep’t of Homeland Sec., No. 18-cv-0760, 2023 WL 2564119, at *4 (D.D.C. Mar.

15, 2023) (final agency action can be established where “a plaintiff challenges one, overarching

agency decision to no longer enforce or apply an agency policy”); Americans for Immigrant Just.,

2023 WL 1438376, at *18 (finding no final agency action because plaintiff did not allege that

Defendants made a “final decision that any one Facility need not comply” with detention

standards); C.G.B. v. Wolf, 464 F. Supp. 3d 174, 225 (D.D.C. 2020) (no final agency action because

“Plaintiffs do not identify any discrete final agency decision not to implement” COVID-related

detention policies).

      Defendants’ decision to waive the durational limitations of the Policy reflects a

“consummation” of their decision-making process, because it is “attributable to the agency itself

and represents the culmination of [its] consideration of an issue.” Nat. Res. Def. Council v.

Wheeler, 955 F.3d 68, 78 (D.C. Cir. 2020) (quoting Bennett, 520 U.S. at 177-78). This decision

directly determines “rights or obligations” (Bennett, 520 U.S. at 178 (citation omitted)), because

it reduces durational obligations of the Baltimore Hold Rooms while immediately eliminating the

rights of putative Class Members to, inter alia, be detained in a setting with Constitutionally

mandated access to medical care. See Torres, 411 F. Supp. 3d at 1069 (“The Court assumes that

the rights of detainees and obligations of detention contract facilities would flow from any agency

action regarding detention standards compliance and enforcement.”).



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               2.      Defendants’ Decision to Waive the Policy Violates the APA Because it
                       is Contrary to the Constitution, Arbitrary and Capricious, and an
                       Abuse of Discretion.

      Plaintiffs are likely to prevail on their APA claim in at least two respects. First, under the

APA, this Court is compelled to “hold unlawful and set aside agency action” that is “contrary to

constitutional right.” 5 U.S.C. § 706(2)(A)-(B). In this case, Defendants’ decision to repurpose the

Baltimore Hold Rooms as a residential detention facility is contrary to putative Class Members’

constitutional rights because the facility is not equipped with basic resources necessary to ensure

the minimal conditions required under the Constitution. As noted by Senators Van Hollen and

Alsobrooks, “[t]here is no infirmary or medical staff on-site, and even when a field medical

coordinator is contacted, they are not able to speak to the detainees directly about their medical

needs.”19 Defendants’ affirmative decision to detain individuals for days on end in such a facility

is, at a minimum, a clear violation of Plaintiffs’ and putative Class Members rights to receive

medical care (see Section I.A.2, supra) while in detention. Estelle v. Gamble, 429 U.S. 97, 103–

04 (1976).

      Even if it did not directly contravene putative Class Members’ constitutional rights,

Defendants’ decision was unlawful because it was “arbitrary, capricious, [and] an abuse of

discretion[.]” 5 U.S.C. 706(2)(A). In assessing agency action, the Court’s underlying “task

involves examining the reasons for [the] agency decision[]—or, as the case may be, the absence

of such reasons.” Judulang v. Holder, 565 U.S. 42, 53 (2011). An agency action is arbitrary and

capricious when the agency departs from a prior policy without “articulat[ing] a satisfactory

explanation for its action including a rational connection between the facts found and the choice


19
   See Van Hollen Press Release, https://www.vanhollen.senate.gov/news/press-releases/van-
hollen-alsobrooks-press-trump-administration-on-inhumane-conditions-for-detainees-at-ices-
baltimore-field-office.

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made.” See Sierra Club v. United States Dep’t of the Interior, 899 F.3d 260, 293 (4th Cir. 2018)

(citation omitted). This includes a change in policy in which the agency “entirely failed to consider

[] important aspect[s] of the problem” that it sought to address. Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); see also Ohio v. United States Env’t

Prot. Agency, 603 U.S. 279, 293 (2024) (“[A]n agency cannot simply ignore an important aspect

of the problem.”) (internal citation and quotation omitted).

        In this case, Defendants have not offered any justification or rationale for departing from

their Policy limiting the duration of detention at the Baltimore Hold Rooms to a maximum of 12

hours and instead utilizing the Baltimore Hold Rooms as a residential facility. Indeed, Defendants

did not even publicly acknowledge the existence of a waiver until being forced to do so following

public advocacy by members of the legal community.20 This is precisely the type of “depart[ure]

from a prior policy sub silentio” that is prohibited under the APA. See F.C.C. v. Fox Television

Stations, Inc., 556 U.S. 502, 515 (2009).

        The lack of reasoned decision-making underlying Defendants’ waiver decisions is not new.

On January 29, 2019, the DHS Office of the Inspector General issued a report raising serious

concerns about the waiver process employed for privately contracted residential detention

facilities. It found:

        ICE frequently issued waivers to facilities with deficient conditions, seeking to
        exempt them from having to comply with certain detention standards. However, we
        found that ICE has no formal policies and procedures to govern the waiver process
        and has allowed ERO officials without clear authority to grant waivers. We also




20
  See Tanvi Misra, “Essentially Cages”: ICE Is Using Courthouse Cells for Lengthy Detentions,
The Nation (Mar. 17, 2025), https://www.thenation.com/article/society/ice-detention-courthouse-
holding-room (ECF No. 1-10).

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       determined that ICE does not ensure key stakeholders have access to approved
       waivers.21

       Consistent with the noted absence of reasoned decision-making and failure to share waivers

with key stakeholders, Defendants in this case have refused to provide any details about their

waiver decision, leading Senators Van Hollen and Alsobrooks to serve a formal request that

Defendants “produce the waiver” and answer the following questions: “When was the 12-hour

holding rule waiver granted, under what authority was it granted, and what reasoning supports it

being granted indefinitely?”22 As of this filing, Defendants have not responded to the Senators’

inquiries.

      Even if reasoned decision-making could support a waiver of certain restrictions at certain

facilities, Defendants’ waiver in this case is clearly arbitrary and capricious because it “entirely

failed to consider an important aspect of the problem.” W. Virginia Coal Workers’ Pneumoconiosis

Fund v. Bell, 781 F. App’x 214, 229 (4th Cir. 2019) (internal citation and quotation omitted).

Defendants elected to begin employing the Baltimore Hold Rooms as a residential facility as early

as February 2025 even though, as of April, it still had “no infirmary or medical staff on-site,” “no

food service contract” and “no bed space.”23 Defendants’ abject failure to address the basic

minimum conditions required for a residential facility has predictably led to gross constitutional

violations. Plaintiffs are likely to prevail on Count I of their Complaint.




21
  See Department of Homeland Security, Office of Inspector General, ICE Does Not Fully Use
Contracting Tools to Hold Detention Facility Contractors Accountable for Failing to Meet
Performance Standards (January 29, 2019), Dagen Decl. Ex. 2.
22
   Van Hollen Press Release, https://www.vanhollen.senate.gov/news/press-releases/van-hollen-
alsobrooks-press-trump-administration-on-inhumane-conditions-for-detainees-at-ices-baltimore-
field-office.
23
   Id.

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       C.      Plaintiffs Are Likely to Succeed on Their Claims Under the Accardi Doctrine
               (Count II).

      Independent of their APA challenge, Plaintiffs are also likely to prevail on their claim

challenging Defendants’ deviation from their own written procedures under the Accardi doctrine.

Under the Accardi doctrine, agencies are bound to follow their own rules that affect the

fundamental rights of individuals, including self-imposed policies and processes that limit

otherwise discretionary decisions. See Accardi v. Shaughnessy, 347 U.S. 260, 267 (1954) (holding

that BIA must follow its own regulations in its exercise of discretion and that an APA claim may

be brought where an agency does “precisely what [its] regulations forbid [it] to do”); Morton v.

Ruiz, 415 U.S. 199, 235 (1974) (“Where the rights of individuals are affected, it is incumbent upon

agencies to follow their own procedures . . . even where the internal procedures are possibly more

rigorous than otherwise would be required.”); Sanchez v. McAleenan, No. 19-cv-1728, 2024 WL

1256264, at *7 (D. Md. Mar. 25, 2024) (“The Accardi doctrine provides that when an agency fails

to follow its own procedures and regulations, that agency’s actions are generally invalid.”).

      The Accardi doctrine arises from the principle “that any violation by an agency of its own

regulations, at least one that results in prejudice to a particular individual, offends due process[.]”

Sanchez v. McAleenan, No. 19-cv-1728, 2024 WL 1256264, at *7 (D. Md. Mar. 25, 2024) (quoting

Thomas W. Merrill, The Accardi Principle, 74 GEO. WASH. L. REV. 569, 576 (2006)). While some

courts have treated it primarily as a constitutional principle arising under the Due Process Clause

(see id.), others have analyzed an Accardi claim as “a subset of claims for relief cognizable under

the APA.” Americans for Immigrant Just., 2023 WL 1438376, at *17.

      The Accardi doctrine applies to any binding agency guidance, even if is “not promulgated

in something formally labeled a ‘Regulation’ or adopted with strict regard to the Administrative

Procedure Act; the Accardi doctrine has a broader sweep.” United States v. Heffner, 420 F.2d 809,


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812 (4th Cir. 1969). Courts routinely apply the Accardi doctrine to agency guidance documents if

they are “intended” by the agency to be binding and are “promulgated for the protection of

individuals.” Damus v. Nielsen, 313 F. Supp. 3d 317, 336 (D.D.C. 2018) (citations omitted); see

also Morton v. Ruiz, 415 U.S. 199, 235 (1974) (“Where the rights of individuals are affected, it is

incumbent upon agencies to follow their own procedures.”). Even an unpublished policy binds the

agency if “an examination of the provision’s language, its context, and any available extrinsic

evidence” supports the conclusion that it is “mandatory rather than merely precatory.” Doe v.

Hampton, 566 F.2d 265, 281 (D.C. Cir. 1977).

      Here, the Policy provides mandatory procedures for confinement of detained noncitizens

and was thus “promulgated for the protection of individuals.” See Damus, 313 F. Supp. at 336.

Moreover, an examination of the Policy’s language and context confirms that the Policy’s

procedures are mandatory and intended to be binding. On its face, the Policy is a “Directive”

providing that “ERO Officers are responsible for ensuring that field office personnel follow the

procedures in this Directive for operating holding facilities located within their respective field

offices.” ECF No. 1-8, § 4.3. (emphasis added). This same mandatory language appears throughout

Section 4.4.1, establishing procedures under which “ERO Officers are responsible for ensuring”

that detainees in Baltimore Hold Room have “a meal at least every six hours” (id., § 4.4.1.2)

(emphasis added), and that hold rooms are “safe, clean and equipped with restroom facilities.” Id.,

§ 4.4.1.3. Conspicuously absent from the responsibilities set forth in Section 4.4.1 is any

permissive language such as “may,” “within the ERO Officer’s discretion” or “if practicable.”

        Similarly, Sections 5.1 sets forth certain “Supervision and Monitoring -- Procedures for

ERO Officers” including, “empty[ing] holding facilities upon the conclusion of daily operations.”

Id, § 5.1.1. In prescribing this procedure, the Policy expressly states: “Absent exceptional



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circumstances, no detainee should be housed in holding facility for longer than 12 hours” (id.) – a

requirement that is reinforced in the definition of a “short-term” as “a period not to exceed 12

hours, absent extraordinary circumstances” (id., §3.2, n. 3). In similarly mandatory fashion, the

Policy established a procedure under which ERO officers must “provide detainees access to

drinking water . . . at all times” (id., § 5.2.2); and “allow detainees . . . to have access to . . .

prescribed medication as necessary. Id., § 5.7.2.

        This mandatory nature of Defendants’ written procedures finds further support from

extrinsic evidence. On March 12, 2025, William Joyce, Field Officer of the ICE New York Field

Office confirmed, in a Declaration filed in federal court that the Policy is still in effect and “dictates

that absent exceptional circumstances, no detainee should be housed in a Holding room facility for

longer than 12 hours.” Khalil v. Joyce, 1:25-cv-01935, ECF No. 48 at ¶ 13 (Mar. 14, 2025)

(emphasis added). Mr. Joyce’s Declaration under penalties of perjury leaves no doubt as to the

field office’s view regarding the mandatory nature of these procedures. See Moghaddam v.

Pompeo, 424 F. Supp. 3d 104, 121 (D.D.C. 2020) (finding agency “intended to be bound by this

guidance” based on public statements and court filings).

        In this case, Defendants have violated and continue to violate their own procedures in

multiple respects, including by:

        •   detaining putative Class Members in the Baltimore Hold Rooms for longer than 12
            hours (ECF No. 1-8, § 5.1.1);

        •   failing to empty the Baltimore Hold Rooms upon the conclusion of daily operations
            (id.);

        •   denying putative Class Members access to necessary prescribed medications (id,. §
            5.7.2);

        •   failing to provide putative Class Members with access to drinking water (i.e. sanitary
            water suitable for drinking) at all times (id,. § 5.2.2); and



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        •   failing to provide putative Class Members with a meal at least every six hours (id,. §
            4.4.1.2).

        Defendants concerted decision to suspend and deviate from these written procedures

infringes on Plaintiffs’ Due Process rights under the Accardi Doctrine and violates the APA.

Plaintiffs are thus likely to prevail on Count II of their Complaint.

II.     PRELIMINARY INJUNCTIVE RELIEF IS NECESSARY TO PREVENT
        IRREPARABLE HARM TO THE PLAINTIFFS

        The putative Class Members will clearly continue to suffer irreparable harm in the absence

of an injunction. With respect to their constitutional claims, “[i]t has long been established that the

loss of constitutional freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Leaders of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 346 (4th

Cir. 2021) (internal citation and quotation omitted). With respect to their APA claims, “unlike

economic harm, the harm from detention pursuant to an unlawful departure from agency procedure

cannot be remediated after the fact.” Damus, 313 F. Supp. 3d at 342. Absent an injunction,

extended confinement in the overcrowded, unsanitary Baltimore Hold Rooms will continue to

cause putative Class Members personal injury, mental anguish, emotional trauma, and potential

death, for which monetary damages are inadequate.

III.    BOTH THE PUBLIC INTEREST AND THE BALANCE OF EQUITIES WEIGHS
        IN FAVOR OF GRANTING PRELIMINARY INJUNCTIVE RELIEF

        Putative Class Members will continue to suffer significant irreparable harm to their life and

liberty in the absence of the requested injunctive relief. In contrast, Defendants are “in no way

harmed by the issuance of [an injunction] which prevents [them] from” engaging in practices

“likely to be found unconstitutional.” Leaders of a Beautiful Struggle, 2 F.4th at 346. The requested

injunctive relief would merely enjoin Defendants from violating their own policies regarding the

use of holding rooms for short term, temporary detention. See, e.g., ClearOne Adv., LLC v. Kersen,

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710 F. Supp. 3d 425, 437 (D. Md. 2024) (recognizing that a defendant “can suffer little cognizable

hardship” from the enforcement of a contract—or, in this case, a policy—that the defendant created

or agreed upon). It would not prevent Defendants from detaining non-citizens at more than 150

long-term ICE facilities across the country.

       Finally, the public interest weighs heavily in Plaintiffs’ favor because “it is well-established

that the public interest favors protecting constitutional rights.” Leaders of a Beautiful Struggle, 2

F.4th at 346; see also Centro Tepeyac v. Montgomery Cnty., 722 F.3d 184, 191 (4th Cir. 2013)

(“[U]pholding constitutional rights surely serves the public interest.”) (citation omitted).

IV.    THE COURT SHOULD WAIVE THE BOND REQUIREMENT OR REQUIRE
       PLAINTIFFS TO PROVIDE A NOMINAL SECURITY

       Federal Rule of Civil Procedure 65(c) provides that “[t]he court may issue a preliminary

injunction or a temporary restraining order only if the movant gives security in an amount that the

court considers proper to pay the costs and damage sustained by any party found to have been

wrongfully enjoined or restrained.” Under Fourth Circuit law, “the district court retains the

discretion to set the bond amount as it sees fit or [even] waive the security requirement.” Pashby

v. Delia, 709 F.3d 307, 332 (4th Cir. 2013) (abrogated on other grounds by Stinnie v. Holcomb,

37 F.4th 977, 981 (4th Cir. 2022)). Courts have “frequently waived the bond requirement in cases

where a fundamental constitutional right is at stake.” Nat’l Ass’n of Diversity Officers in Higher

Educ. v. Trump, 767 F. Supp. 3d 243, 291 (D. Md. 2025) (setting “a nominal bond of zero dollars”);

Maryland v. United States Dep’t of Agric., No. 25-cv-0748, 2025 WL 800216, at *26 (D. Md. Mar.

13, 2025) ( “District courts have discretion to set the required security at a nominal amount . . .

and this approach has long been followed in public-interest litigation cases”) (citation omitted);

Am. Ass’n of Colleges for Tchr. Educ. v. McMahon, No. 25-cv-00702, 2025 WL 833917, at *25

(D. Md. Mar. 17, 2025) (setting nominal bond of $100).


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       President Trump has instructed government attorneys to “curb[] activist judges” and

“deter[] . . . litigation” by seeking excessive, punitive bonds in litigation like this class action.24

But any request for bond that exceeds a nominal amount is an attempt to deter litigation, which is

not tailored to this request for a preliminary injunction as required under FRCP 65(c).

         A court in this district has previously waived the bond requirement in a case involving

civilly detained noncitizens seeking preliminary injunctive relief related to unconstitutional

conditions at Defendants’ facilities. Coreas v. Bounds, 458 F.Supp.3d 352, 362 (D. Md. 2020).

This Court should do the same here or, in the alternative, set a nominal bond of $1.

                                          CONCLUSION

       For all the foregoing reasons, Plaintiffs respectfully request that this Court grant Plaintiffs’

motion and issue an order enjoining Defendants and their agents and employees from: (i) operating

the Baltimore Hold Rooms as a residential facility and (ii) subjecting Plaintiffs and putative Class

Members to punitive and unconstitutional conditions of confinement in the Baltimore Hold

Rooms.

 Dated: June 12, 2025                                   Respectfully submitted,

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   See “Fact Sheet: President Donald J. Trump Ensures the Enforcement of Federal Rule of Civil
Procedure 65(c),” WHITEHOUSE.GOV (Mar. 6, 2025),
https://www.whitehouse.gov/presidential-actions/2025/03/ensuring-the-enforcement-of-federal-
rule-of-civil-procedure-65c/.



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